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UNITED sTATEs DISTRICT COURT Fl'ED 22 hac D-C.
WESTERN DISTRICT oF TENNESSEE

Westero Division 85 JUH l 5 PH 5- 09

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UNITED sTATEs or AMERICA 222 `"“‘ ' 2222222“".
-v- Case No. 2:03cr20102-Ma

SHYRETTE JOHNSON

 

ORDER SETT|NG
CONDIT|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Ofiice, Probation Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) 'l`he defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Report Date in the United States Courthouse and
Federal Building on Friday June 24, 2005 at 2:00pm before Judge Mays..

ADD|T|ONAL COND|T|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Unsecured Financial Condition
0 The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

$10,000.00 in the event of a failure to appear as required or to surrender as directed for service of any sentence
imposedl

Secured Financial Conditions

0 report as directed by the Pretrial Services Offlce.
0 Maintain or activer seek employment
0 Abide by the following restrictions on personal association, place of abode, or travel: Defendant is restricted

in residence and travel to the Western District of Tennessee.
0 Refrain from possessing a firearm, destructive device, or other dangerous weapon.
AO 199/ft Order Setling Conditions of Re|ease

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0 Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §
802, unless with prior written approval of the Pret:rial Services Off'icer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

0 Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing.

0 Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

0 Participate in an electronic monitoring program as directed by Pretrial Services. You shall pay all or part of
the cost of the program based upon your ability to pay as determined by Pretiial Services.

0 Other: Defendant to bear costs of electronic monitoring Curfew: Allowed to leave the house for work, her
daughter’s medical care, for court appearances and for church..

ADV|CE OF PENALT|ES AND SANCTIONS
TO THE DEFENDANT:

¥OU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witriess, victim or inforrnant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the couit. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment iriay be
imposed lf you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fmed not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than 5100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted

AO 199.¢\ Oruer Setling Condittons of Re|ease '2'

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ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that I am the defendant in this case and that 1 am aware of the conditions of release, I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware
of the penalties and sanctions set forth above.

Shyrette Johnson
1063 N. Claybrook
Memphis, TN 38107
(901) 729-2776

DlRECTlONS TO THE UNlTED STATES MARSHAL

[l The defendant is ORDERED released after processing

y The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in

custodyl

Date: June16, 2005 UAJM/L /( %’WF

DIANE K. VESCOVO
UNlTED STATES MAGISTR.ATE JUDGE

AO 199A Order Setting Conditions of Re|ease -3-

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:03-CR-20102 Was distributed by faX, mail, or direct printing on
June 2l , 2005 to the parties listed

 

 

Randolph W. Alden

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l\/lemphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

